     Case 8:23-bk-11972-MH    Doc 49   Filed 09/04/24   Entered 09/04/24 16:16:59   Desc
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1      AMRANE COHEN
       CHAPTER 13 TRUSTEE
2      Orange City Square
       770 The City Dr. South, #3700
3      Orange, CA 92868
       Tel: (714) 621-0200
4      Fax: (714) 621-0277
5                            UNITED STATES BANKRUPTCY COURT CENTRAL
                             DISTRICT OF CALIFORNIA, SANTA ANA DIVISION
6
        IN RE:                                  Chapter 13
7          JASON JOHN ROTHBARD                  Case No.: 8:23-bk-11972-MH
                                                NOTICE OF MOTION AND VERIFIED
8                                               MOTION FOR ORDER DISMISSING
                                                CHAPTER 13 PROCEEDING (11 U.S.C. -
9                                Debtor(s).
                                                1307(c))
10
           PLEASE TAKE NOTICE THAT THE TRUSTEE HEREIN MOVES FOR AN ORDER DISMISSING
11     THIS PROCEEDING ON OR AFTER 9/30/2024 UNLESS ARRANGEMENTS ARE MADE BY THE
       ABOVE-NAMED DEBTOR(S) TO CURE THE DELINQUENT PAYMENTS IN THE AMOUNT OF
12     $6,125.00. IN ADDITION TO THE DELINQUENT AMOUNT LISTED, DEBTOR(S) MUST CURE ANY
       SUBSEQUENT TRUSTEE PAYMENT THAT MAY COME DUE AFTER THE DATE OF THIS NOTICE.
13     THIS MOTION IS BASED ON THE FOLLOWING GROUNDS: MATERIAL DEFAULT BY THE
       DEBTOR(S) WITH RESPECT TO THE TERM OF THE CONFIRMED PLAN BY FAILING TO MAKE
14
       PAYMENTS ACCORDING TO THE PLAN (11 U.SC. 1307(c)(6)).
15
          A HISTORY OF THE PAYMENTS RECEIVED IN THIS CASE IS LISTED ON THE NEXT
16        PAGE.
17        THIS MOTION MAY BE GRANTED WITHOUT A HEARING, PURSUANT TO LOCAL
18        BANKRUPTCY RULE 9013-1(o)(1). ANY PARTY IN INTEREST WHO WISHES TO OPPOSE THE
          MOTION MUST OBTAIN A HEARING DATE FROM THE CLERK OF THE COURT FOR THE
19        SANTA ANA DIVISION AND MUST SERVE AND FILE HIS OPPOSITION PAPERS ON THE
          TRUSTEE WITHIN FOURTEEN(14) DAYS OF THE DATE OF SERVICE OF THIS MOTION.
20
                                                           /S/AMRANE COHEN
21                                                         AMRANE COHEN
22        AMRANE COHEN DECLARES UNDER PENALTY OF PERJURY THAT HE IS THE DULY
23     APPOINTED, QUALIFIED AND ACTING CHAPTER 13 TRUSTEE AND THE FOREGOING IS TRUE
       AND CORRECT. EXECUTED AT ORANGE, CALIFORNIA ON
24

25     DATED: 9/4/2024                                  /S/AMRANE COHEN
                                                           AMRANE COHEN
26

27
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                                                  RECEIPT HISTORY
 Date        Source       Amount              Date       Source       Amount          Date       Source      Amount
10/27/2023   9450816000     $1,912.00       11/27/2023   9501082000    $1,912.00   12/26/2023   9549073000    $1,912.00
01/22/2024   9592695000     $2,066.00       02/20/2024   9642273000    $2,066.00   03/26/2024   9700598000    $2,066.00
03/29/2024   9700598000    ($2,066.00)      04/17/2024   39023876      $2,100.00   05/15/2024   43716880      $2,100.00
05/31/2024   45716875       $2,071.00
        Case 8:23-bk-11972-MH             Doc 49      Filed 09/04/24      Entered 09/04/24 16:16:59            Desc
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In re:                                                                             CHAPTER 13
Jason John Rothbard
10282 Pua Dr
Huntington Beach, CA 92646                                       Debtor(s).                 Case No.:8:23-bk-11972-MH

                                       PROOF OF SERVICE OF DOCUMENT

I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                             770 THE CITY DR. SOUTH, #3700
                                                   ORANGE, CA 92868

The foregoing document described as NOTICE OF MOTION AND VERIFIED MOTION FOR ORDER
DISMISSING CHAPTER 13 PROCEEDING (11 U.S.C. - 1307(c)) will be served or was served in the manner
indicated below:
I. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING ("NEF") - Pursuant to controlling
General Order(s) and Local Bankruptcy Rule(s) ("LBR"), the foregoing document will be served by the court via NEF and
hyperlink to the document. On 9/4/2024 I checked the CM/ECF docket for this bankruptcy case or adversary proceeding
and determined that the following persons(s) are on the Electronic Mail Notice List to receive NEF transmission at the
email addressed indicated below:

   KEVIN TANG, ESQ.                                              KEVIN@TANG-ASSOCIATES.COM
                                                                 kevintang@ecf.courtdrive.com
II. SERVED BY U.S. MAIL OR OVERNIGHT MAIL (indicate method for each person or entity served):
On 9/4/2024 I served the following person(s) and/or entity(ies) at the last known address(es) in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope with postage theron fully prepaid in
the United States Mail and /or with an overnight mail service addressed as follows:

  Jason John Rothbard
  10282 Pua Dr
  Huntington Beach, CA 92646

III. SERVED BY FACSIMILE TRANSMISSION OR EMAIL (indicate method for each person or entity served):
Pursuant to Fed. R. Civ. Proc. 5 and/or controlling LBR, on ____________ I served the following person(s) and/or
entity(ies) who consented in writing to such service method, by facsimile transmission and/or email as follows:




I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct .

9/4/2024                 ALDO AMAYA                                        /s/_ALDO AMAYA__
Date                       Type Name                                       ALDO AMAYA
